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 1   THOMAS A. JOHNSON, #119203
     400 Capital Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant, Sakander Amin
 4
 5                        IN THE UNITED STATES DISTRICT COURT
 6                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     UNITED STATES OF AMERICA,                 )   Case No.: 2:10-CR-00364-MCE
 8
                                               )
 9                 Plaintiff,                  )   STIPULATION AND ORDER
                                               )   CONTINUING JUDGMENT AND
10                                                 SENTENCING AND MODIFICATION
            vs.                                )   OF SCHEDULE FOR PSR.
11                                             )
     SOHAIL AMIN, and                          )
12                                             )   Date:    4/26/12
13   SAKANDER AMIN,                            )   Time:    9:00 a.m.
                                               )   Judge:   Hon. Morrison C. England
14                 Defendant(s).               )
15                                             )
                                               )
16                                             )
17
18          IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the

19   Judgment and Sentencing scheduled for January 5, 2012, at 9:00 a.m. is continued to

20   April 26, 2012, at 9:00 a.m. in the same courtroom. The continuance is requested

21   because defense counsel recently concluded a trial in the Sacramento Superior Court and

22   needs additional time to prepare for the Pre-Sentence Report (PSR). Michael Beckwith,

23   Assistant United States Attorney, and Thomas A. Johnson, Defendant’s attorney, agree to

24   this continuance. Probation Officer, Ronnie Preap, was informed of the continuance and

25   also agrees to the stipulation.

26   ///

27   ///

28   ///


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                            Case 2:10-cr-00364-MCE Document 80 Filed 12/08/11 Page 2 of 4



 1   IT IS SO STIPULATED.
 2
 3
     DATED: December 6, 2011                                 By:    /s/ Thomas A. Johnson
 4                                                                  THOMAS A. JOHNSON
                                                                    Attorney for Defendant
 5                                                                  SAKANDER AMIN
 6   DATED: December 6, 2011                                        BENJAMIN WAGNER
                                                                    United States Attorney
 7
                                                              By:   /s/ Thomas A. Johnson for
 8                                                                  MICHAEL BECKWITH
                                                                    Assistant United States Attorney
 9
10   IT IS SO ORDERED.
11
     Dated: December 8, 2011
12
13                                                  __________________________________
                                                    MORRISON C. ENGLAND, JR
14                                                  UNITED STATES DISTRICT JUDGE
15
16   DEAC_Signatu re-END:




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     U.S. v. Amin, et al., Case No. 2:10-CR-00364-MCE
                 Case 2:10-cr-00364-MCE Document 80 Filed 12/08/11 Page 3 of 4



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                                  IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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 9                                                   )   Case No.: 2:10-CR-00364-MCE
     UNITED STATES OF AMERICA,                       )
10                                                   )   MODIFICATION OF SCHEDULE FOR
                     Plaintiff,                      )   PRE-SENTENCE REPORT AND FOR
11                                                   )   FILING OF OBJECTIONS TO THE PRE-
            v.                                       )   SENTENCE REPORT
12                                                   )
     SAKANDER AMIN, et al.,                          )
13                                                   )
                    Defendants.                      )
14
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
15                                               this Court.
16
     Date of Referral to Probation Officer:                       October 20, 2011
17                                                                (Date of Plea or Verdict)
18   Judgment and Sentencing date:                                April 26, 2012
19
     Reply or Statement                                           April 19, 2012
20
     Motion for Correction of the Pre-Sentence
21
     Report shall be filed with the court and                     April 12, 2012
22   served on the Probation Officer and opposing
     counsel no later than:
23
     The Pre-Sentence Report shall be filed with
24
     the court and disclosed to counsel no later                  April 5, 2012                  __
25   than:

26   Counsel’s written objections to the Pre-
27   Sentence Report shall be delivered to the                    March 29, 2012
     Probation Officer and opposing counsel
28   no later than:


                                                                                                           3
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               Case 2:10-cr-00364-MCE Document 80 Filed 12/08/11 Page 4 of 4



 1   The proposed Pre-Sentence Report                            March 15, 2011
 2   shall be disclosed to counsel no later than:

 3   Copies of this Modified Schedule shall be provided to the Probation Officer.
 4
            IT IS SO ORDERED.
 5
 6   DATED: December 8, 2011
 7
 8                                                  _______________________________________
                                                    MORRISON C. ENGLAND, JR.
 9                                                  UNITED STATES DISTRICT JUDGE
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     U.S. v. Amin, et al., Case No. 2:10-CR-00364-MCE
